         Case 4:13-cv-00360-BSM Document 8 Filed 02/12/14 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

GLORIA A. BUNCH                                                              PLAINTIFF

v.                           CASE NO. 4:13CV00360 BSM

KENNETH A. MARTIN et al.                                                 DEFENDANTS

                                          ORDER

       Plaintiff Gloria A. Bunch’s motion for appointment of counsel and to stay her case

[Doc. No. 7] is denied. On November 26, 2013, Bunch was notified that she had thirty days

to pay her partial filing fee or risk dismissal of her case. [Doc. No. 4]. As of this date,

Bunch has not paid anything. Accordingly, Bunch’s case is dismissed without prejudice for

failure to comply with the prior order.

       IT IS SO ORDERED this 12th day of February 2014.


                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
